        Case 1:21-cv-02265-APM Document 180 Filed 01/26/23 Page 1 of 3




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
CONRAD SMITH, et al.,                     )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           )
                                          ) Case No. 21-cv-02265 (APM)
DONALD J. TRUMP, et al.,                  )
                                          )
      Defendants.                         )
_________________________________________ )


                                            ORDER

       Before the court are multiple motions with regard to a stay or protective order concerning

discovery. With the court having resolved the pending motions to dismiss, see Mem. Op.,

ECF 179, the motions filed at ECF Nos. 149, 150, 151, 152, and 154 are denied as moot.

       Defendant Alexander’s motion at ECF No. 171 and Defendant Stone’s motion at

ECF No. 174 are likewise denied as moot, as the court has dismissed the claims against them.

       The Trump Defendants’ Motion for Protective Order Regarding Premature Discovery

Requests, ECF No. 170, is granted in part and denied in part. The motion is granted as to President

Trump. The court agrees that discovery should not commence against the former President until

his claim of absolute immunity is resolved. Cf. Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)

(“Until this threshold [qualified] immunity question is resolved, discovery should not be

allowed.”); Ashcroft v. Iqbal, 556 U.S. 662, 685 (2009) (“The basic thrust of the qualified-

immunity doctrine is to free officials from the concerns of litigation, including ‘avoidance of

disruptive discovery.’” (citation omitted)). To be sure, a bar on discovery while a claim of

immunity is pending is not absolute. See Crawford-El v. Britton, 523 U.S. 574, 593 (1998). But
            Case 1:21-cv-02265-APM Document 180 Filed 01/26/23 Page 2 of 3




permitting discovery to proceed, even against a former President, while the question of absolute

immunity remains unresolved is inconsistent with the broad and protective purposes of official

acts immunity. See Clinton v. Jones, 520 U.S. 681, 694 n. 19 (1997) (stating that the “dominant

concern” underlying the Supreme Court’s recognition absolute immunity for official acts “was

with the diversion of the President’s attention during the decisionmaking process caused by

needless worry as to the possibility of damages actions stemming from any particular official

decision”). Although Plaintiffs claim that delay will prejudice them, such prejudice is substantially

diminished by the extensive public record that already has been compiled about the President’s

actions before and on January 6th. See Final Report, Select Committee to Investigate the January

6th Attack on the United States Capitol. 1 And, to the extent they worry about spoliation of

evidence, most relevant records are likely covered by the Presidential Records Act and therefore

no longer in the former President’s possession. Therefore, a stay of discovery against President

Trump is not likely to substantially prejudice Plaintiffs.

           Discovery, however, may commence against all other Defendants, including Donald J.

Trump for President, Inc. and the Make America Great Again PAC. The court is not convinced

based on the dicta in Ashcroft that all discovery as to all defendants must remain halted until the

question of presential immunity is resolved. See Ashcroft, 556 U.S. at 685–86. Such a stay would

substantially prejudice Plaintiffs and would not serve the underlying purposes of official acts

immunity. And, if discovery directed at other Defendants does somehow demand the time and

attention of the former President himself, while his immunity claim remains unresolved, he can

seek a protective order at that time.




1
    Available at https://d3i6fh83elv35t.cloudfront net/static/2022/12/Report_FinalReport_Jan6SelectCommittee.pdf

                                                          2
        Case 1:21-cv-02265-APM Document 180 Filed 01/26/23 Page 3 of 3




Dated: January 26, 2023                          Amit P. Mehta
                                          United States District Court Judge




                                      3
